                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION


                                  No.7: 1O-CR-043-4F




UNITED STATES OF AMERICA,                  )
                                           )
       v.                                  )             ORDER
                                           )
KENNETH LLOYD COATS, JR.                   )
                                           )
            Defendant.                     )




       On July 14, 2010, this court entered an order [DE-103] allowing the Defendant's

Motion for Psychiatric Exam. [DE-99]. It has since come to the court's attention that the

Superseding Indictment filed by the Government on June 2, 2010 [DE-751, changed the

spelling of the Defendant's name to omit the "E" from his last name. Accordingly, the

court's July 14, 2010 order [DE-101] is amended to reflect the same spelling.

       SO ORDERED.

       This the 22 nd day of July, 2010.



                                           J    ES C. FOX
                                           S   ior United States District Judge




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